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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN

 VALERIE KLOOSTERMAN

      Plaintiffs
                                                Civil Action No. 1:22-cv-00944
 v.                                             Hon. Jane M. Beckering

METROPOLITAN HOSPITAL, d/b/a
UNIVERSITY OF MICHIGAN HEALTH-WEST;
RAKESH PAI, an individual; RHAE-ANN
BOOKER, an individual; MARLA COLE, an
individual; THOMAS PIERCE, an individual; and
CATHERINE SMITH, an individual.

      Defendants.
______________________________________________________________________________




            BRIEF IN SUPPORT OF DEFENDANTS PAI, BOOKER, COLE,
            PIERCE AND SMITH’S MOTION TO DISMISS PLAINTIFF’S
                  CORRECTED FIRST AMENDED COMPLAINT




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                                      I.      INTRODUCTION

       In her Corrected First Amended Complaint (“Amended Complaint”), Plaintiff Valerie

Kloosterman brings nine counts. Six of those claims seek declaratory and injunctive relief against

five individual Defendants for alleged violations of the United States Constitution (under 42

U.S.C. § 1983) and the Michigan Constitution. The individual Defendants are employees of

Defendant University of Michigan Health-West (“UMHW”). Plaintiff variously asserts that these

Defendants committed constitutional violations by compelling her to use “biology-obscuring

pronouns,” denying her a religious accommodation while granting such relief to others, and

terminating her employment. All of her claims seek relief from these Defendants in both their

individual and official capacities.

       In this Motion, all individual Defendants seek dismissal of Plaintiff’s claims against them

under Fed. R. Civ. P. 12(b)(1) (based on immunity provided by the Eleventh Amendment) and

12(b)(6) (for failure to state claims on which relief can be granted).

                          II.     STATEMENT OF RELEVANT FACTS

       The facts relevant to the instant Motion are derived from Plaintiff’s Amended Complaint

(PageID.511-574) and are recited in the Statement of Law section below. However, a summary of

the claims and the parties is given here.

       Plaintiff is a physician assistant formerly employed by UMHW. (PageID.515, ¶ 20).

Defendant UMHW is an affiliate of the University of Michigan Health System, which is operated

by the Board of Regents for the University of Michigan. (Id. ¶ 21).

       The individual Defendants each hold positions with UMHW. (PageID.516-517, ¶¶ 25-30).

Specifically, Defendant Rakesh Pai serves as President and the Medical Group & Chief Population

Health Officer. (PageID.516, ¶ 26). Defendant Rhae-Ann Booker is the Vice President of

Diversity, Equity, and Inclusion. (Id. at ¶ 27). Defendant Marla Cole serves as Director of Human
                                                  1
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Resources. (Id. at ¶ 28). Defendant Thomas Pierce is the Diversity, Equity & Inclusion Program

Coordinator. (Id. at ¶ 29). Defendant Catherine Smith is a Nurse Practitioner and a member of the

Advanced Practice Providers’ Council. (PageID.517, ¶ 30).

       The Amended Complaint contains three counts brought under 42 U.S.C. § 1983 (Counts I-

III) and three counts under the Michigan Constitution (Counts VI-VIII). The claims against them

seek declaratory and injunctive relief against those defendants and in both their individual and

official capacities. In addition, in Counts I-III, Plaintiff seeks nominal damages. The claims are as

follows:

 Cause of      Claims                            Defendants/Capacities       Relief Sought
 Action                                          in which Named
 Count I       First and Fourteenth              All five individual         Declaration that
               Amendments: Free Exercise         defendants in their         Defendants violated
               of Religion                       individual and official     the rights alleged;
               42 U.S.C. § 1983                  capacities                  order directing
                                                                             Defendants to
                                                                             reinstate Plaintiff;
                                                                             injunction
                                                                             prohibiting future
                                                                             such acts by
                                                                             Defendants
 Count II      First and Fourteenth              Same as above               Same as above
               Amendments: Freedom of
               Speech, 42 U.S.C. § 1983
 Count III     Fourteenth Amendment:             Same as above               Same as above
               Equal Protection, 42 U.S.C. §
               1983
 Count VI      Michigan Constitution: Free       Same as above, plus         Same as above, plus
               Exercise of Religion              Defendant UMHW              nominal damages

 Count VII     Michigan Constitution:            Same as above               Same as above
               Freedom of Speech
 Count VIII    Michigan Constitution: Equal      Same as above               Same as above
               Protection




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                                   III.    STATEMENT OF LAW

       Rule 12(b)(1). Where claims are barred by immunity under the Eleventh Amendment, the

court lacks subject matter jurisdiction. Fairport Int'l Expl., Inc. v. Shipwrecked Vessel Known as

The Captain Lawrence, 105 F.3d 1078, 1082 (6th Cir. 1997).

       Rule 12(b)(6). In order to survive a motion to dismiss, the complaint “must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (internal quotations

and citation omitted).

    A. THE COURT SHOULD DISMISS PLAINTIFF’S STATE CONSTITUTION
       CLAIMS (COUNTS VI THROUGH VIII) AGAINST DEFENDANTS IN THEIR
       OFFICIAL AND INDIVIDUAL CAPACITIES BECAUSE THEY ARE BARRED
       BY THE ELEVENTH AMENDMENT

       Defendants write first to dispose of Counts VI through VIII of Plaintiff’s Amended

Complaint, which allege that they all violated the Michigan Constitution and seek relief against all

individual Defendants, in both their official and individual capacities. Fed. R. Civ. P. 12(b)(1).

       Plaintiff’s Amended Complaint alleges and concedes that Defendant UMHW is a state

entity.1 She asserts that UMHW is part of “the University of Michigan Health System (now called

‘Michigan Medicine’), which in turn is operated by the University of Michigan Board of

Regents.”2 (PageID.520, ¶ 48). Article VIII, Sec. 5 of the Michigan Constitution, Mich. Const. art.

VIII, § 5, created the University and its Board of Regents. Further, Plaintiff alleges that each of

the individual Defendants named works for UMHW. (PageID.516-517, 525, ¶¶ 25-29, 84). She


1
  Follis v. State Armory Bldg. Comm’n, No. 10-815, 2010 WL 1782181, at *1 (D. Minn. Mar. 29,
2010) (“Here, the Plaintiffs have explicitly alleged in their Complaint that the named Defendant,
State Armory Building Commission, ‘is an arm of a state, or state entity’”), report and
recommendation adopted, No. 10-815, 2010 WL 1782178 (D. Minn. May 4, 2010).
2
  The individually-named defendants, all employees of UMHW, are also named in claims brought
for alleged violations of the United States Constitution under 42 U.S.C. § 1983. (PageID.543-556).
She states that all of those Defendants acted “under color of state law.” (PageID.517, ¶ 30).

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also alleges that the Board of Regents “has the authority to direct or to require the creation and

implementation of policies at [UMHW], and has exercised that authority.” (PageID.523, ¶ 71). Her

claims rest largely on alleged violations of the Michigan and U.S. Constitution, which claims could

not be brought unless against a state actor (and she does not claim that UMHW is a municipal

government).

       Under the Eleventh Amendment to the U.S. Constitution, states are generally immune from

suit by private parties in federal court. The Eleventh Amendment provides that:

       The Judicial power of the United States shall not be construed to extend to any suit
       in law or equity, commenced or prosecuted against one of the United States by
       Citizens of another state, or by Citizens or subjects of any foreign State. U.S. Const.
       amend. XI.

       There are generally three exceptions to this rule: (1) abrogation by Congress; (2) waiver by

the State; and (3) suits against state officers for prospective relief to end an ongoing violation of

federal law. Carten v. Kent State Univ., 282 F.3d 391, 398 (6th Cir. 2002). Plaintiff does not and

cannot suggest that the first two exceptions apply in this case.

       With respect to the third exception, outlined in Ex parte Young, 209 U.S. 123, 28 S. Ct.

441, 52 L. Ed. 714 (1908), state officers may be sued in their official capacities for prospective

injunctive and declaratory relief to end continuing or ongoing violations of federal law. Boler v.

Earley, 865 F.3d 391, 412 (6th Cir. 2017).

       However, state-law claims against state officials in their individual and official capacities

are barred by the Eleventh Amendment. Martinson v. Regents of the Univ. of Michigan, No. 09-

13552, 2011 WL 13124122, at *4 (E.D. Mich. Sept. 28, 2011) (official capacity claims), aff'd sub

nom. Martinson v. Regents of Univ. of Michigan, 562 F.App'x 365 (6th Cir. 2014); In re Ohio

Execution Protocol Litig., 709 F.App'x 779, 783 (6th Cir. 2017) (individual capacity claims).




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       In Martinson, the plaintiff brought various federal and state constitutional claims against

the University and certain individuals acting in their official capacities. The plaintiff sought

injunctive relief against those individuals. In dismissing those claims, the Court wrote:

       Similarly, all state law claims against the University and the individual
       Defendants in their official capacities are barred by the Eleventh Amendment in
       an action brought in federal court. Pennhurst State School & Hospital v.
       Halderman, 465 U.S. 89, 121 (1984) (“We concluded above that a claim that state
       officials violated state law in carrying out their official responsibilities is a claim
       against the State that is protected by the Eleventh Amendment. We now hold that
       this principle applies as well to state-law claims brought into federal court under
       pendent jurisdiction.”). See also Experimental Holdings, Inc. v. Farris, 503 F.3d
       514, 520-21 (6th Cir. 2007) (citing Pennhurst, supra) (“The Supreme Court has
       squarely held that pendent state law claims against state officials in their official
       capacity are barred by the Eleventh Amendment.”); Sullivan, 2009 WL 2915787,
       at *6 (holding that the Eleventh Amendment also barred plaintiff's pendent state
       law claims against the university police officer in his official capacity)
       (citing Experimental Holdings, supra)

       This dismissal of Plaintiff's state law claims applies to all forms of relief sought,
       including prospective injunctive relief, which may be available to Plaintiff in
       federal court on her federal claims against the individual Defendants in their official
       capacities under the doctrine of Ex Parte Young. The Supreme Court clearly
       embraced this conclusion in Pennhurst:

            This need to reconcile competing interests [recognized in Ex Parte Young]
            is wholly absent, however, when a plaintiff alleges that a state official has
            violated state law. In such a case the entire basis for the doctrine of Young
            and Edelman disappears. A federal court's grant of relief against state
            officials on the basis of state law, whether prospective or retroactive, does
            not vindicate the supreme authority of federal law. On the contrary, it is
            difficult to think of a greater intrusion on state sovereignty than when a
            federal court instructs state officials on how to conform their conduct to
            state law. Such a result conflicts directly with the principles of federalism
            that underlie the Eleventh Amendment. We conclude that Young and
            Edelman are inapplicable in a suit against state officials on the basis of
            state law.

       Pennhurst, 465 U.S. at 106 (internal quotation marks and citations omitted). See
       also United States Pipe & Foundry Co. v. Johnson, 927 F.2d 296, 298-99 (6th Cir.
       1991) (recognizing that “[t]he Supreme Court has held that the eleventh
       amendment prohibits federal courts from ordering state officials to conform their
       conduct to state law”) (citing Pennhurst, supra).

Martinson, supra at *4-5 (emphasis added)(footnote omitted).

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       The same is true of Plaintiff’s claims under the Michigan Constitution against Defendants

in their individual capacities. In re Ohio Execution Protocol Litig., 709 F.App'x at 783 (“Sovereign

immunity thus bars a plaintiff from using state law to enjoin state officials from carrying out

official responsibilities even when the officials are sued in their individual capacities.”)

(emphasis added). Accord Taylor v. Alabama, 95 F.Supp.2d 1297, 1321 (M.D. Ala. 2000) (citing

Pennhurst and holding that, “as to Plaintiff's state law claims in Counts 5 and 8 against Harris in

his individual capacity for injunctive relief, the court finds that he is entitled to Eleventh

Amendment immunity.”).

       For these same reasons, this Court should dismiss Plaintiff’s claims under the Michigan

Constitution (Counts VI through VIII) against the individual Defendants in their official and

individual capacities.

   B. THE COURT SHOULD DISMISS PLAINTIFF’S SECTION 1983 AND STATE
      CONSTITUTION CLAIMS (COUNTS I-III AND VI-VIII) BECAUSE SHE DOES
      NOT PLEAD FACTS THAT THEY EACH VIOLATED HER CONSTITUTIONAL
      RIGHTS

       Plaintiff’s claims against the individual Defendants fail to satisfy the pleading requirements

of Rule 12(b)(6). “In order to state a claim under section 1983, a plaintiff must allege two elements:

(1) the plaintiff must show a deprivation of rights secured by the ‘Constitution and laws’ of the

United States, and (2) plaintiff must show that the defendant deprived him of this federal right

"under color of law.” Jones v. Duncan, 840 F.2d 359, 360-61 (6th Cir. 1988) (emphasis added).

As the Supreme Court explained in Iqbal, 129 S.Ct. at 1948, in order to state a claim for a

constitutional tort Plaintiff must plead “that each Government-official defendant, through the

official's own individual actions, has violated the Constitution.” (emphasis added). Thus, where

a plaintiff has named individual defendants, whether in their official capacities for injunctive relief

or in their individual capacities for damages, she must “include specific factual allegations



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regarding how” that defendant violated her constitutional rights. Moniz v. Cox, 512 F.App'x 495,

499 (6th Cir. 2013).3

        Plaintiff’s obligation to plead that each individual defendant’s actions violated her

constitutional rights carries particular importance here because, as discussed below, her

constitutional tort claims each rest on a chain of events in which two defendants allegedly

“recommended” the decisions at issue, two others made the decisions, and another “ratified” those

decisions. Plaintiff must plead facts that each Defendant, in taking the alleged actions, violated

her constitutional rights.

        With these principles in mind, Defendants address each of Plaintiff’s constitutional claims.

                1.      Counts I, III and VIII

        Counts I, III and VIII assert that Defendants violated Plaintiff’s rights under the federal

free exercise clause (Count I), the federal equal protection clause (Count III), and the Michigan

Constitution’s equal protection clause (Count VIII). (PageID.543, 554, 567). All three of these

claims rest on the theory that the denial of Plaintiff’s alleged request for a religious accommodation

(the specific request not being identified in the Amended Complaint) resulted in her termination

and was the product of disparate treatment, i.e., that Defendants would have treated “secular”

accommodation requests differently than it did her own. (PageID.545-546, 554-555, 568, ¶¶ 205-

206, 259-260, 348).

        Plaintiff’s disparate treatment theory fails to state claims on which relief can be granted

because the allegations in the Amended Complaint do not reflect that each Defendant treated her

differently than similarly-situated employees, a required element of these claims. Singfield v.




3
 While the contours of some corollary state constitutional provisions may differ from the federal
ones, the basic pleading burden should not differ from that applicable to Section 1983 claims.

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Akron Metro. Hous. Auth., 389 F.3d 555, 566-567 (6th Cir. 2004) (equal protection disparate

treatment); Prater v. City of Burnside, Ky., 289 F.3d 417, 429 (6th Cir. 2002) (free exercise claim).

        Courts routinely dismiss claims under Rule 12(b)(6) where the facts alleged in the

complaint do not reflect that the plaintiff was treated differently than a similarly-situated person

or entity. See e.g., Ross v. Michigan State Univ. Bd. of Regents, 837 F.Supp.2d 712 (W.D. Mich.

2011) (plaintiff failed to state discriminatory denial of promotion claim where the individual to

whom he compared himself was not given a promotion at the time he applied and was denied);

Bojicic v. DeWine, 569 F.Supp.3d 669, 688 (N.D. Ohio 2021) (dismissing equal protection claim

because the plaintiffs dance studio owners “have failed to allege any facts that would show that

the essential businesses that Ohio allowed to remain open were similarly situated to their dance

studios”). See also Tri-Corp Mgmt. Co. v. Praznik, 33 F.App'x 742, 746 (6th Cir. 2002) (affirming

dismissal of equal protection claim where the plaintiff “does not make any allegations with respect

to similarly situated persons, let alone an allegation that it was treated differently than similarly

situated persons.”).

        Here, the Amended Complaint alleges that one physician did not perform breast or pelvic

exams or prescribe hormones, that no providers are willing to perform toenail removals, and that

some providers do not prescribe diet stimulant pills. (PageID.32, ¶¶ 144-149). However, Plaintiff

does not allege that the other individuals involved were similarly-situated in all relevant aspects.

Bajestani v. Tennessee Valley Auth., 61 F.Supp.3d 759, 763-764 (E.D. Tenn. 2014) (“Because

Plaintiff's conduct differs in highly relevant aspects from the conduct of those he argues are

similarly situated to him, Plaintiff has failed to allege facts sufficient to establish the fourth element

of the Title VII claim.”). Although “[t]he plaintiff need not demonstrate an exact correlation with

the employee receiving more favorable treatment in order for the two to be considered `similarly-

situated;' . . . the plaintiff and the employee with whom the plaintiff seeks to compare himself or

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herself must be similar in all of the relevant aspects." Arendale v. City of Memphis, 519 F.3d 587,

604 (6th Cir. 2008).

       Specifically, Plaintiff does not allege that the providers to whom she compares herself

sought or were given any accommodations at all, much less accommodations from the “speech

code” about which she complains. She does not claim that the physician who refuses to do breast

and pelvic exams, or the providers who do not prescribe diet pills, ever asked anyone for an

“accommodation,” much less from any of the individual Defendants here. In addition, Plaintiff is

not a physician; she is a physician assistant. (PageID.511, ¶ 1). Plaintiff does not allege when these

supposed practices began, who recommended or granted the supposed accommodations, or

whether there was even a UMHW policy that from which an accommodation would be required.

Nor does Plaintiff allege that she was treated differently than “all providers” (who presumably

includes Plaintiff) who refused to remove toenails. Therefore, Plaintiff’s disparate treatment

claims fail to state claims on which relief can be granted.

       Plaintiff’s failure to allege that any of the individual Defendants were involved in these

supposedly similar situations, let alone that they were even aware or recommended the supposed

accommodations, also dooms her claims. See e.g., Marshall v. Ohio Univ., No. 2:15-CV-775, 2015

WL 7254213, at *7 (S.D. Ohio Nov. 17, 2015) (dismissing gender discrimination claim based on

selective enforcement of a policy where the plaintiff “does not allege that the determination that

the presumably female student was ‘not responsible’ and that [plaintiff] was ‘responsible’ for

violating the Policy was made by the same decision-maker.”). In fact, Plaintiff specifically avers

that “office staff” who schedule patients were aware that the one particular physician does not

perform pelvic or breast exams or prescribe hormones (PageID.535, ¶¶ 144-145).

       Plaintiff fails to state claims on which relief can be granted for additional reasons. In each

of the three claims, Plaintiff asserts that Defendants Pierce and Smith recommended the denial of

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her request for accommodation and her termination, that Defendants Booker and Cole made the

decision to do so, and that Defendant Pai ratified the decision that “Defendants Booker and Cole

made.” (PageID.544, 554-555, 568, ¶¶ 198, 259, 346).

        With respect to Defendants Pierce and Smith, the allegation that they “recommended” her

termination and/or the denial of her accommodation is not a basis for Section 1983 liability. In

Hartman v. Thompson, 931 F.3d 471, 478 (6th Cir. 2019), the Sixth Circuit held that the defendant

who recommended a protest zone but did not have the legal authority to put the plaintiffs in it

(which authority lay with the Executive Director), could not be liable for the free speech claim.

See also Gilroy v. Baldwin, 843 F.App’x 194, 196 (11th Cir. 2021) (“We’ve explained that a

defendant is a decisionmaker subject to individual liability when he has the authority ‘not

merely to recommend’ the plaintiff’s termination, ‘but to immediately effectuate’ it.”) (emphasis

added). See also Amador v. Perello, No. 99-650, 2000 WL 35593212, at *6 (S.D. Fla. Aug. 23,

2000) (noting the plaintiff’s failure to allege that individual defendant had the authority to suspend

or terminate his employment was dispositive even if the job gave him authority to recommend

such action), aff’d, 275 F.3d 54 (11th Cir. 2001).

       As noted above, Plaintiff must allege that each Defendant violated her constitutional rights.

Iqbal, supra. See also Burke v. New Mexico, 696 F.App’x 325, 330 (10th Cir. 2017) (“To state a

plausible § 1983 equal-protection claim, a plaintiff must allege facts indicating how each

defendant was personally responsible for treating her ‘differently from others similarly

situated.’”) (emphasis added); Castro v. City of Union City, No. 14-CV-00272-MEJ, 2014 WL

4063006, at *9 (N.D. Cal. Aug. 14, 2014) (“Plaintiff must allege specific facts as to each

defendant, showing that the defendant engaged in discriminatory or harassing conduct, that the

conduct was intentional, and that the conduct was motivated by considerations of Plaintiff’s

membership in a protected class.”) (emphasis added).

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       Plaintiff asserts, in hypothetical form, that Defendants Pierce and Smith “would” treat

differently someone seeking such secular accommodations, not that they have actually done so.

(PageID.534, 546, 555, ¶¶ 139, 211, 260). Mitchell v. Wachovia Corp., 556 F.Supp.2d 336, 350

(D. Del. 2008) (“Mitchell's belief that Wachovia and its employees would have acted differently

had Mitchell been white or a woman, in the absence of record evidence, is based on Mitchell's

speculation and is thus insufficient to prove discrimination.”) (emphasis added). Plaintiff

generically states, “on information and belief,” that Defendants Pierce and Smith recommended

the granting of unspecified “secular” accommodations (PageID.534, 546, 555, 568, ¶¶ 139, 211,

260, 348)). However, Plaintiff includes no factual allegations of that sort and does not claim that

Defendants Pierce or Smith were involved in decisions relating to physicians or other providers

who refused to remove toenails, conduct pelvic or breast exams, or prescribe weight loss

medications.

       While a plaintiff can satisfy the plausibility standard by pleading facts on “information and

belief,” the plaintiff “cannot merely plop ‘upon information and belief’ in front of a conclusory

allegation and thereby render it non-conclusory. Those magic words will only make otherwise

unsupported claims plausible when “‘the facts are peculiarly within the possession and control of

the defendant or where the belief is based on factual information that makes the inference of

culpability plausible.’” Citizens United v. Schneiderman, 882 F.3d 374, 384–85 (2d Cir. 2018).

“The mere fact that someone believes something to be true does not create a plausible inference

that it is true.” In re Darvocet, Darvon, & Propoxyphene Products Liab. Litig., 756 F.3d 917, 931

(6th Cir. 2014).

       Certainly, Plaintiff cannot claim that the facts are peculiarly within Defendants’ possession,

particularly when she worked at UMHW for more than 17 years, and identify certain supposed

“secular” accommodations, but not claim what role, if any, Defendants Pierce or Smith played in

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the same. (PageID.511, 533-535 ¶¶ 1, 138-139, 145-146). See e.g., Citizens United, supra

(rejecting conclusory allegations made on “information and belief” about past public disclosures

made by Attorney General of New York where “[t]here is no reason Appellants could not find at

least one inadvertent publication without any help from subpoenas, depositions, or

interrogatories.”).

        With respect to Defendants Booker and Cole, who Plaintiff claims made the decisions

based on recommendations from Defendants Pierce and Smith, Plaintiff also relies on what

hypothetically they “would” do differently with employees seeking secular accommodations.

(PageID.534, 546, 555, ¶¶ 139, 211, 260). However, Plaintiff does not plead any facts that

Defendants Booker and Cole had ever been presented with a decision on whether to grant any

particular “secular” accommodation or whether to terminate an employee to whom they did not

grant such an accommodation.

        Plaintiff also fails to state a claim with respect to Defendant Pai, who she claims “ratified”

the decision. The Amended Complaint contains no facts permitting the Court to conclude that

Defendant Pai was even aware that Plaintiff did not want to use patients’ chosen pronouns, even

if it is true that he “ratified” the decision to deny her request or terminate her employment or

“ratified” the denial. “A person who has ratified is not bound by the ratification if it was made

without knowledge of material facts about the act of the agent or other actor.” Restatement (Third)

Of Agency § 4.06 (2006). In addition, supervisor liability under Section 1983 requires that “the

supervisor encouraged the specific incident of misconduct or in some other way directly

participated in it.” Bellamy v. Bradley, 729 F.2d 416, 421 (6th Cir. 1984). “At a minimum a

plaintiff must show that the official at least implicitly authorized, approved, or knowingly

acquiesced in the unconstitutional conduct of the offending” government employees. Everson v.

Leis, 556 F.3d 484, 495 (6th Cir. 2009). “To prove acquiescence, it is not enough to show that the

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actor merely failed to act against misconduct of which he was aware.” Flagg v. City of Detroit,

715 F.3d 165, 174 (6th Cir. 2013) (citing Shehee v. Luttrell, 199 F.3d 295, 300 (6th Cir. 1999)).

Plaintiff does not plead facts that Defendant Pai implicitly authorized, approved or knowingly

acquiesced in the allegedly unconstitutional decision-making.

       Plaintiff’s Amended Complaint also does not assert that Defendant Pai had ever been

presented with a comparable situation involving employees seeking “secular” accommodations

such that he could be liable for discrimination. She generically asserts that “[o]n information and

belief, in signing the termination notice and enforcing the hospital’s unlawful policies against Ms.

Kloosterman, Defendant Pai was aware of Ms. Kloosterman’s religious beliefs and acted with the

motive to discriminate against her because of them.” (PageID.532, ¶ 132).4 Again, there are no

factual allegations to make that assertion plausible. When a pleading includes only conclusory

allegations of discriminatory intent without supporting factual allegations, it does not sufficiently

state a plausible claim for relief. HDC, LLC v. City of Ann Arbor, 675 F.3d 608, 613 (6th Cir.

2012). It should not be lost on the Court that Plaintiff casts the same broad allegation (of course,

on “information and belief”) against all five defendants that they acted with “anti-religious”

motivations. (PageID.532, 534, ¶¶ 131, 140). Thus, as with the other defendants, Plaintiff did not

adequately plead facts that Defendant Pai’s own actions violated Plaintiff’s constitutional rights.

Iqbal, supra.

       In short, Counts I, III and VIII do not sufficiently allege that Defendants, Pai, Booker, Cole,

Pierce and Smith each treated Plaintiff differently than a similarly-situated person outside her

protected class with regard to a religious accommodation, a decision which she claims resulted in



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  Curiously, elsewhere in the Amended Complaint, Plaintiff states that Defendant Pai said he had
never met Ms. Kloosterman and could not identify what violation she engaged in. (PageID.532,
¶ 121).

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her termination. Plaintiff also does not plead a basis for relief that the alleged recommendations

of Defendants Pierce and Smith form the basis for Section 1983 liability. Nor does Plaintiff plead

that Defendant Pai is liable for ratifying discrimination about which he was even aware.

Accordingly, the Court should dismiss Counts I, III and VIII against all individual Defendants.

               2.      Counts II, VI and VII

       Counts II, VI and VII of Plaintiff’s Amended Complaint allege that Defendants coerced or

compelled her to use “biology-obscuring pronouns” in violation of her free speech rights under the

First Amendment to the U.S. Constitution and Articles I, §§ 4 and 5 of the Michigan Constitution.

(PageID.550, 563, 566, ¶¶ 237, 317, 336). Count VI includes the additional allegation that

Defendants compelled her to make referrals for drugs and medical procedures which violated her

religious conscience. (PageID.563, ¶ 317).

       These claims appear to refer to the allegation in paragraph 113 that UMHW has a policy

“to require employees to use pronouns as preferred by patients, regardless of whether they

correspond with biological sex.” (PageID.529). Plaintiff also claims earlier in the Amended

Complaint that “the [training] module contained a requirement to affirm statements concerning

sexual orientation and gender identity that her Christian faith prohibited her from affirming.”

(PageID.523, ¶ 74).5

       With respect to Defendants Booker and Cole, Plaintiff claims they compelled her to speak

such pronouns “by denying [Plaintiff’s] religious accommodation request and by making her




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  The reference to compelled referrals in Count VI appears to relate to Plaintiff’s belief that "it
would be sinful to prescribe or give referrals for ‘puberty blockers,’ ‘hormone therapy,’ or ‘gender
reassignment surgery,’ regardless of what medical benefit those drugs and procedures might bring.
She believes likewise with respect to the use of biology-obscuring pronouns.” (PageID.539,
¶ 175).

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failure to speak such pronouns a basis for their decision to terminate” her employment.

(PageID.550, 563, 566, ¶¶ 237, 318, 336).

       However, Plaintiff’s claim based on information and belief does not meet the plausibility

requirement. The Amended Complaint describes a July 29, 2021 meeting between Plaintiff and

representatives from both the HR and DEI Departments of UMHW: Defendants Cole (HR

Director), Pierce (DEI Program Director), and Smith (member of the Advanced Practice Providers’

Council). (PageID.525, ¶ 84). Plaintiff states that this meeting “focused on whether Ms.

Kloosterman would use gender identity-based pronouns and be willing to refer patients for ‘gender

reassignment surgery.’” (PageID.525, ¶ 88). And Plaintiff avers that unspecified “representatives

asked Ms. Kloosterman what she would do about pronouns on patient charts.” (PageID.526, ¶ 97)

(emphasis added). She does not assert that either Defendants Cole or Booker communicated to her

that the alleged request was denied. Nor does Plaintiff plead facts (rather than conclusions)

permitting the plausible conclusion that they (an HR Director and DEI leader) either made

Plaintiff’s refusal to speak patients’ chosen pronouns a basis for the termination of Plaintiff’s

employment or that they made the decision to deny the alleged accommodation request. Therefore,

the Court should dismiss Counts II, VI and VII against them.

       With respect to Defendant Pierce, Plaintiff claims that he compelled Plaintiff to speak

“biology-obscuring pronouns” by threatening and berating her for not using them at the July 29

meeting, and by recommending that Defendants Booker and Cole deny her accommodation request

and that they terminate her employment. (PageID.550-551, 563, 566, ¶¶ 237, 316, 336). Plaintiff

identifies Pierce as a Coordinator for Diversity, Equity & Inclusion at UMHW. (PageID.516,

¶ 28). Plaintiff does not plausibly claim that Pierce had authority to compel her to say or do

anything; indeed, Plaintiff does not claim to have reported to Pierce or even that Pierce supervises

anyone.

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         With respect to Defendant Smith, Plaintiff states that she compelled Plaintiff to “speak

biology-obscuring pronouns by recommending” to Booker and Cole the denial of her

accommodation request and the termination of her employment. (PageID.550-551, 563, 566,

¶¶ 237, 316, 336). However, as noted, the authority to recommend is not the authority to

implement a decision and does not form a basis for Section 1983 liability. Hartman, supra; Gilroy,

supra.

         With respect to Defendant Pai, Plaintiff claims that he compelled her to speak the

“biology-obscuring pronouns by ratifying the accommodation denial and termination decision of

Defendants Booker and Cole,” an assertion which again rests on “information and belief”.

(PageID.534, 550, 566, ¶¶ 139, 237, 336). Yet, the Amended Complaint contains no facts

permitting the Court to conclude that Defendant Pai was aware that Plaintiff did not want to use

patients’ chosen pronouns, even if it is true that he “ratified” the decision to deny her request or

terminate her employment . As noted, a ratification requires knowledge of the material facts.

Restatement (Third) Of Agency § 4.06, supra.

         In short, Counts II, VI, and VII fail to state claims on which relief can be granted.

Accordingly, those claims also should be dismissed.

   C. THE COURT SHOULD DISMISS PLAINTIFF’S SECTION 1983 CLAIMS
      (COUNTS I-III) BECAUSE PLAINTIFF FAILS TO STATE CLAIMS FOR
      CONSTITUTIONAL VIOLATIONS

         In Section II, Defendants explained how Counts I-III fail to state claims as to the specific

individuals. In Section III, Defendants write separately to argue that Counts I-III fail to state claims

on the whole.

         1. Plaintiff Fails To State A Section 1983 Claim For Violating Her First Amendment
            Right To Free Exercise Of Religion (Count I)




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       Defendants do not dispute that the Free Exercise Clause of the First Amendment includes

“the right to believe and profess whatever religious doctrine one desires.” Emp. Div., Dep’t. of

Hum. Res. of Oregon v. Smith, 494 U.S. 872, 877, 110 S. Ct. 1595, 1599, 108 L. Ed. 2d 876 (1990).

However, Plaintiff’s failure to plead violations of this right, in accordance with principles of law,

requires dismissal of Count I. As the Sixth Circuit set out in Meriwether v. Hartop, 992 F.3d 492,

512 (6th Cir. 2021), “laws that burden religious exercise are presumptively unconstitutional unless

they are both neutral and generally applicable.” “[A] law that is neutral and of general applicability

need not be justified by a compelling state interest even if the law has the incidental effect of

burdening a particular religious practice.” Church of the Lukumi Babalu Aye, Inc. v. City of

Hialeah, 508 U.S. 520, 531, 113 S. Ct. 2217, 124 L. Ed. 2d 472 (1993). However, if a law is not

neutral and of generally applicable, then it “must undergo the most rigorous of scrutiny.” Id. at

546. To afford a person’s protections under the Free Exercise Clause, the government is obligated

“to proceed in a manner neutral toward and tolerant of [one’s] religious beliefs.” Masterpiece

Cakeshop, Ltd. v. Colorado C.R. Com'n, 138 S. Ct. 1719, 1721, 201 L.Ed.2d 35 (2018). Evaluation

of governmental neutrality requires courts to “look beyond the text and scrutinize the history,

context, and application of the challenged law.” Meriwether, 992 F.3d at 512.

       As the Supreme Court held in Masterpiece, 138 S. Ct. at 1732, a plaintiff is “entitled to a

neutral decisionmaker who would give full and fair consideration to his religious objection as he

sought to assert it in all of the circumstances in which this case was presented, considered, and

decided.” Plaintiff’s hostility theory fails to state a claim on which relief can be granted because

the allegations reflect that Defendants carefully considered and reviewed Plaintiff’s objections

with fairness.

       First, the Amended Complaint claims that Defendant Pierce made express statements

which were “hostile” to her religious faith. (PageID.525-526, 545, ¶¶ 90-91, 94-95, 200).

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Specifically, Plaintiff alleges that Defendant Pierce called her “evil” and a “liar”, told her she could

not take the Bible to work with her, and asked her whether she knew that by using a patient’s name

instead of preferred pronouns, it would cause him or her to commit suicide. (PageID.525-526, ¶¶

90, 95). As alleged, the July 29, 2021 meeting was Plaintiff’s only interaction with Defendant

Pierce. (PageID.525, ¶ 84). Further, as noted above, the allegation that Defendant Pierce

“recommended” Plaintiff’s termination and/or her denial of accommodation is insufficient to

impose Section 1983 liability. Hartman, 931 F.3d at 478.

       Second, Plaintiff makes a conclusory statement that Defendant Booker was hostile because

she suggested that her “sincerely held religious beliefs equate with discrimination.” (PageID.545,

¶ 200). However, the Amended Complaint demonstrates Defendant Booker’s fairness and

neutrality when she met with Plaintiff on July 1, 2021. (PageID.524-525, ¶¶ 82-83). The Amended

Complaint lacks any indication of objection by Defendant Booker when Plaintiff “corrected” her

and “explained that she had seen several LGBTQ patients during her 17 years of employment and

that she would gladly continue seeing them.” (PageID.524-525, ¶ 83).

       Third, when Plaintiff’s meeting with Defendants Cole, Pierce, and Smith on July 29, 2021

to discuss her accommodation request became “intense,” Defendant Cole said that “everyone

should take a breath.” (PageID.525, 527, ¶¶ 84, 99). The Amended Complaint does not assert that

Defendants made a decision regarding Plaintiff’s accommodation request or her employment at

that time. Instead, Plaintiff neither spoke nor met with Defendants until weeks later on August 24,

2021, when she received her termination notice from Defendants Cole and Smith. (PageID.527,

¶¶ 101-102, ¶ 105). There are no allegations in the Amended Complaint which connect the alleged

statements or lack of statements in previous weeks to UMHW’s decision to terminate Plaintiff’s

employment.




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       The disparate treatment Defendants allegedly exhibited between her and other providers

who expressed their objections to procedures or referrals are also insufficient to demonstrate

Defendants’ hostility toward her religious beliefs. In Masterpiece, 138 S. Ct. at 1730, the Supreme

Court examined how the Colorado Civil Rights Commission treated other bakers’ who refused “to

create cakes with images that conveyed disapproval of same-sex marriage, along with religious

text,” but found that, unlike the plaintiff bake shop owner, they “acted lawful in refusing service.”

Id. The requested cakes by the other bakers in Masterpiece included language, images, or

messaging deemed “derogatory,” “hateful,” or “discriminatory.” Id. The Supreme Court in

Masterpiece found that the commission’s treatment of the conscience-based objections at issue in

the three other bakers’ cases contrasted with the commission's treatment of plaintiff bake shop

owner and wrote:

       The Commission ruled against Phillips in part on the theory that any message the
       requested wedding cake would carry would be attributed to the customer, not to the
       baker. Yet the Division did not address this point in any of the other cases with
       respect to the cakes depicting anti-gay marriage symbolism. Additionally, the
       Division found no violation of CADA in the other cases in part because each bakery
       was willing to sell other products, including those depicting Christian themes, to
       the prospective customers. But the Commission dismissed Phillips' willingness to
       sell “birthday cakes, shower cakes, [and] cookies and brownies,” App. 152, to gay
       and lesbian customers as irrelevant.

Id.

       Contrary to the disparate treatment demonstrated in Masterpiece, Plaintiff’s Amended

Complaint does not allege discriminatory treatment sufficient to demonstrate hostility toward her

beliefs. First, unlike in Masterpiece, where the other bakers and bake shop owner refused to bake

cakes or perform the same service, the procedures and services that Plaintiff’s comparators who

were allegedly accommodated for their non-religious objections are not the same as Plaintiff’s

request “to abstain from using biology-obscuring pronouns, prescribing cross-sex hormones, or

referring for ‘gender reassignment’ surgeries.” (PageID.548, ¶ 219). See also PageID.547, ¶ 207

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(“Defendants easily accommodate other medical professionals who have non-religious objections

to far more common procedures…” (emphasis added)). Second, nothing in the Amended

Complaint states ties any of the individual Defendant’s involvement to the clinic’s

accommodations of other providers’ objections.

       For the reasons given above, this Court should dismiss Count I pursuant to Rule 12(b)(6).

       2. Plaintiff Fails To State A Section 1983 Claim For Violating Her First Amendment
          Rights To Free Speech (Count II)

       In Count II, Plaintiff purports to bring a freedom of speech claim under the First

Amendment. (See PageID.550-554, ¶¶ 234-252). However, Plaintiff has not stated a viable claim.

The Sixth Circuit recognized in Meriwether, 992 F.3d at 503–04, that “free-speech rules apply

differently when the government is doing the speaking. And that remains true even when a

government employee is doing the talking.” Courts evaluating a governmental employee’s free

speech claim employ a two-step inquiry. Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407, 2423

(2022). First, the court examines the nature of the speech at issue, and “[i]f a public employee

speaks ‘pursuant to [his or her] official duties,’”6 Id. (quoting Garcetti v. Ceballos, 547 U.S. 410,

421, 126 S.Ct. 1951, 164 L.Ed.2d 689 (2006)). Second, the court must consider “whether an

employee's speech interests are outweighed by ‘the interest of the State, as an employer, in

promoting the efficiency of the public services it performs through its employees.’” Id. at 2423-

2424 (quoting Garcetti, 547 U.S. at 417; 126. S.Ct. at 1957).

       Plaintiff alleges that Defendants violated the Free Speech Clause by “compelling [her] to

speak biology obscuring pronouns.” (PageID.550, ¶ 236). The use of addressing patients with their

preferred pronouns was part of her official duties as a physician assistant at UMHW, and not a


6
 In Kennedy, 142 S.Ct. at 2423, the Supreme Court explained that the “Free Speech Clause
generally will not shield the individual from an employer's control and discipline because that kind
of speech is—for constitutional purposes at least—the government's own speech.”

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forum to express her personal beliefs. See Garcetti, 547 U.S. at 1954; 126 S. Ct. at 411 (finding

that “[r]estricting speech that owes its existence to a public employee's professional responsibilities

does not infringe any liberties the employee might have enjoyed as a private citizen. It simply

reflects the exercise of employer control over what the employer itself has commissioned or

created.”); Kluge v. Brownsburg Cmty. Sch. Corp., 432 F.Supp.3d 823, 837-839 (S.D. Ind. 2020)

(dismissing free speech claim brought by teacher claiming that he was subject to punishment “‘for

refusing to communicate a school corporation-mandated ideological message regarding gender

dysphoria’” because what he called the students was part of his official duties); D & D Assocs.,

Inc. v. Bd. of Educ. of N. Plainfield, No. 03-1026, 2012 WL 1079583, at *22 (D.N.J. Mar. 30,

2012) (“compelled speech” claim dismissed because the plaintiff was not acting other than an

employee “in the scope of his official duties”), aff’d, 552 F.App’x 110 (3d Cir. 2014). Plaintiff’s

objection from using patients’ preferred pronouns arose after UMHW required her to complete a

mandatory training module at UMHW which “contained a requirement to affirm statements

concerning sexual orientation and gender identity…” (PageID.523-524, ¶¶ 74, 79-80). In Janus v.

Am. Fed’n of State, Cnty., & Mun. Emps., Council 31, 138 S. Ct. 2448, 201 L.Ed.2d 924 (2018),

the Supreme Court observed, “if the speech in question is part of an employee’s official duties, the

employer may insist that the employee deliver any lawful message.” Id. at 2473.

       Plaintiff also alleges that the “Defendants’ speech code violates the First Amendment to

the U.S. Constitution because it is content and viewpoint based, overbroad, and vague.”

(PageID.553, ¶ 249). As noted above, this “speech” is unprotected by the First Amendment.

Moreover, the Amended Complaint fails to state a plausible claim to allow the court to make a

reasonable inference that Defendants are liable here. A plaintiff is required to plead “sufficient

factual matter…to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678

(quoting Twombly, 550 U.S. at 570)). Plaintiff’s conclusory statement without supporting facts

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that Defendants’ “speech code” is a violation of the First Amendment because “it is content and

viewpoint based, overbroad, and vague” (PageID.553, ¶ 249) fails to meet the plausibility standard

set forth in Iqbal and Bell Atl Corp v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 167 L. Ed. 2d 929

(2007).

          Because the Amended Complaint fails to state a claim for violation of Plaintiff’s right to

free speech, dismissal of Count II is required.

          3. Plaintiff Fails To State A Section 1983 Equal Protection Claim (Count III)

          The Equal Protection Clause of the Fourteenth Amendment “embodies the principle that

all persons similarly situated should be treated alike.” Scarbrough v. Morgan Cnty. Bd. of Educ.,

470 F.3d 250, 260 (6th Cir. 2006). In Count III, Plaintiff alleges that Defendants violated the Equal

Protection Clause by (1) discriminating against her by refusing to accommodate her religious

beliefs while providing numerous accommodations for other employees’ non-religious

preferences; and (2) their actions were “not narrowly tailored to serve a compelling governmental

interest.” (PageID.554-556, ¶¶ 258-261, 263).

          To prevail on an equal protection claim, a plaintiff must establish that the state made a

distinction which (1) burdened a fundamental right, (2) targeted a suspected class, or (3)

intentionally treated one individual different from others similarly situated without any rational

basis. Radvansky v. City of Olmsted Falls, 395 F.3d 291, 312 (6th Cir. 2005). In addition to

differential treatment, a plaintiff alleging an equal protection violation must also establish

discriminatory intent or purpose. Maye v. Klee, 915 F.3d 1076, 1085 (6th Cir. 2019). When an

action “invades a ‘fundamental right,’ such as speech or religious freedom, the [action] will be

sustained only if it is ‘suitably tailored to serve a compelling state interest.’” Harbin-Bey v. Rutter,

420 F.3d 571, 576 (6th Cir. 2005)(quoting City of Cleburne, Tex. v. Cleburne Living Ctr, Inc., 473

U.S. 432, 440, 105 S. Ct. 3249, 87 L. Ed. 2d 313 (1985)).

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       As shown in Section II.A, Plaintiff’s claim that Defendants treated her alleged

accommodation request differently than others’ secular accommodation requests (PageID.555, ¶

260) is insufficient to state a plausible claim for relief. To establish an equal protection claim,

plaintiff must be “similarly situated” to the comparators in “all relevant respects.” Paterek v. Vill.

of Armada, Michigan, 801 F.3d 630, 650 (6th Cir. 2015). Plaintiff fails to allege that she was

treated differently than similarly situated individuals in all relevant respects.

       Plaintiff’s equal protection claim also fails because the Complaint fails to allege that

Defendants’ actions were done for a discriminatory purpose or intent. As noted, Plaintiff merely

alleges that Defendants Pierce and Smith set her accommodation denial and termination in motion,

Defendants Cole and Booker made the decision to deny the accommodation request and terminate

Plaintiff’s employment, and Defendant Pai ratified the decision. (PageID.554-555, ¶ 259). The

burden for a plaintiff alleging that defendants purposefully discriminated against her in violation

of the Equal Protection Clause is a “heavy one to satisfy.” Ryan v. City of Detroit, 174 F.Supp.3d

964, 971–972 (E.D. Mich. 2016) (quoting Sampson v. Town of Salisbury, 441 F.Supp.2d 271, 279

(D. Mass. 2006)). The court in Ryan explained that “without the proverbial ‘smoking gun of an

overtly discriminatory statement by a decision maker, it may be very difficult to offer sufficient

proof of’ discriminatory purpose.” Id. (quoting Soto v. Flores, 103 F.3d 1056, 1067 (1st Cir. 1997)).

Here, Plaintiff alleges no smoking gun. Plaintiff merely alleges disparate treatment and knowledge

by Defendants. As the court in Ryan found, disparate treatment and knowledge is insufficient to

state a claim of discrimination. Id. at 974.

       Plaintiff alleges that Defendants’ actions of treating her differently on the basis of religion

“triggers strict scrutiny.” (PageID.556, ¶ 262). However, strict scrutiny review does not apply here.

The court recently explained in Rouse v. Whitmer, No. 20-12308, 2022 WL 2525434 (E.D. Mich.

June 13, 2022), that where a plaintiff’s equal protection claim is based on an asserted fundamental

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right to free exercise of religion, the Supreme Court has applied only a rational basis review of the

equal protection claim if the same set of facts fail to state a free exercise claim. Id. at *12. Because

the Amended Complaint fails to state a violation of Plaintiff’s free exercise rights for the reasons

set forth in Section III.A. above, Plaintiff’s equal protection claim is subject to a rational basis

review.

          The Sixth Circuit held in Tiwari v. Friedlander, 26 F.4th 355, 361 (6th Cir. 2022), that

“[r]ight or wrong, rational basis review epitomizes a light judicial touch.” According to the Sixth

Circuit, as long as “some plausible reason exists for the law—any plausible reason, even one that

did not inspire the enacting legislators—the law must stand, no matter how unfair, unjust, or

unwise the judges may see it as citizens.” Id.

          Here, there is a plausible reason for allegedly treating Plaintiff differently. It is not only

UMHW’s policy to ensure that all patients have the right to impartial access to medical treatment,

regardless of race, religion, sex/gender, sexual orientation, gender identity, ethnicity, age or

disability, but it is also the law. Section 1557 of the Affordable Care Act, 42 U.S.C. § 18116,

prohibits any federally funded or administrated health program or activity from engaging in

discrimination. UMHW’s compliance with this federal law (i.e., not restricting any patient’s ability

to receive medically necessary care, including gender-affirming care, solely on the basis of the

patient’s sex assigned at birth or gender identity) required Plaintiff to accommodate patients’

desires (i.e., using their preferred pronouns), and Plaintiff’s refusal to do so resulted in her

termination. There was a rational basis for this difference in treatment. Plaintiff’s equal protection

claim thereby fails to state a claim, and Count III must be dismissed.

   D. THE COURT SHOULD DISMISS PLAINTIFF’S CLAIMS FOR NOMINAL
      DAMAGES IN COUNTS I-III BECAUSE SECTION 1983 DOES NOT PERMIT
      SUCH RELIEF AGAINST THEM IN THEIR OFFICIAL CAPACITIES AND
      QUALIFIED IMMUNITY PROTECTS THEM FROM NOMINAL DAMAGES IN
      THEIR INDIVIDUAL CAPACITIES

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        Counts I-III assert claims under Section 1983 against Defendants Pai, Booker, Cole, Pierce

and Smith. (PageID.543-550, 550-554, 554-560, ¶¶ 191-233, 234-252, 253-298). These claims

seek “nominal damages” from them. (PageID.550 554, 556, ¶¶ 233, 254, 265).

        1. No Nominal Damages Against Defendants In Their Official Capacities

        In their official capacities, Defendants cannot be liable for nominal damages under Section

1983. McKinley v. Kaplan, 177 F.3d 1253, 1256 (11th Cir. 1999); Does 1-7 v. Round Rock Indep.

Sch. Dist., 540 F.Supp.2d 735, 746 (W.D. Tex. 2007) (“a suit for nominal damages against a state

[or state officials acting in their official capacity] is not cognizable under § 1983 and can be barred

under the Eleventh Amendment.” (citing Arizonans for Official English v. Ariz., 520 U.S. 43, 69

(1997)); Baughns v. Williams, No. 22-0020, 2022 WL 17480357, at *3 (M.D. Ga. Nov. 10, 2022)

(“Section 1983 itself also precludes any official-capacity claims against Defendants for nominal

damages because the state is not a person for under the meaning of § 1983”), report and

recommendation adopted, No. 22-20, 2022 WL 17477920 (M.D. Ga. Dec. 6, 2022).

        2. Qualified Immunity Bars Nominal Damages Against Defendants In Their
           Individual Capacities

        In Defendants’ individual capacities, qualified immunity serves as a defense against even

nominal damages. See e.g., James v. Anderson, No. 12-10273, 2018 WL 6171474, at *25 (E.D.

Mich. Nov. 26, 2018) (finding that qualified immunity “operated as a bar to recovery of even

nominal damages”); Colvin v. Caruso, 852 F.Supp.2d 862, 879, 870 (W.D. Mich. 2012)(ordering

nominal damages against Defendants Riley and Burnett who were not entitled to qualified

immunity, and dismissing the claims against other individual defendants who were entitled to

qualified immunity).

        The doctrine of qualified immunity shields governmental employees from individual

liability   under   Section   1983    “insofar   as    their   conduct   does   not   violate   clearly

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established…constitutional rights of which a reasonable person would have known.” Hearring v.

Sliwowski, 712 F.3d 275, 279 (6th Cir. 2013) (internal quotations and citations omitted). Whether

the uncontested facts demonstrate a constitutional violation is a question of law. Turner v. Scott,

119 F.3d 425, 428 (6th Cir. 1997).

       Courts analyzing qualified immunity employ a two-step inquiry. Saucier v. Katz, 533 U.S.

194, 121 S. Ct. 2151, 150 L.Ed.2d 272 (2001). First, the court must decide if the facts alleged or

shown establish the violation of a constitutional right. Id. at 201. If the plaintiff has made this

showing, the court must determine if the constitutional right was “clearly established” when the

alleged misconduct occurred. Id.

       To overcome qualified immunity, Plaintiff must show (1) that the individual Defendant

violated Plaintiff’s constitutional rights, and (2) that the constitutional right allegedly violated was

clearly established. Williams v. Mehra, 186 F.3d 685, 691 (6th Cir. 1999). Here, the answer to each

of the questions of the two-prong qualified immunity is no.

               a. Plaintiff Fails to State Claims of Constitutional Violations.

       As detailed above in Sections II and III above, Plaintiff failed to state claims that the

individual Defendants violated Plaintiff’s constitutional rights. Thus, Plaintiff cannot satisfy the

first prong of the analysis. Saucier, 553 U.S. at 201.

               b. Plaintiff Fails To State Claims That Each Individual Defendant Violated A
                  Clearly Established Constitutional Right.

       Even assuming Plaintiff stated claims of constitutional violations, dismissal is nevertheless

proper because she has not sufficiently alleged that the constitutional rights that each individual

Defendant allegedly violated were clearly established. The Sixth Circuit recently explained

Plaintiff’s burden on the second part of the inquiry:

       A Government official’s conduct violates clearly established law when, at the time
       of the challenged conduct, the contours of a right are sufficiently clear that every

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       reasonable official would have understood that what he is doing violates that
       right. Ashcroft, 563 U.S. at 741, 131 S.Ct. 2074 (cleaned up). To be clearly
       established, a legal principle must have a sufficiently clear foundation in then-
       existing precedent. District of Columbia v. Wesby, ___ U.S. ___, 138 S. Ct. 577,
       589, 199 L.Ed.2d 453 (2018). There does not need to be a case directly on point,
       but existing precedent must have placed the statutory or constitutional question
       beyond debate. Ashcroft, 563 U.S. at 741, 131 S.Ct. 2074 (citing Anderson v.
       Creighton, 483 U.S. 635, 640, 107 S.Ct. 3034, 97 L.Ed.2d 523 (1987)).

Moderwell v. Cuyahoga Cnty., Ohio, 997 F.3d 653, 659-660 (6th Cir. 2021) (internal quotations

omitted; emphasis added).

       Further, the Court must consider the law “in light of the specific context of the case, not as

a broad general proposition.” Saucier, 533 U.S. at 201. For example, a court may not deny qualified

immunity because of the general proposition that an unreasonable search or seizure violates the

Fourth Amendment. Ashcroft v al-Kidd, 563 U.S. 731, 742, 131 S. Ct. 2074, 2084, 179 L. Ed. 2d

1149 (2011). Instead, it must look first to Supreme Court decisions, then Sixth Circuit precedent,

then other appellate courts, and then must determine if “these precedents placed the . . .

constitutional question beyond debate.” (emphasis added) Id. at 2083. As the Supreme Court

explained and reiterated, “the clearly established law must be ‘particularized’ to the facts of the

case.” White v. Pauly, 580 U.S. 73, 79, 137 S. Ct. 548, 552, 196 L.Ed.2d 463 (2017), quoting

Anderson v. Creighton, 483 U.S. 635, 640, 107 S. Ct. 3034, 3039, 97 L. Ed. 2d 523 (1987)

(emphasis added) (qualified immunity applied because the “plaintiff failed to identify a case where

an officer acting under similar circumstances as Officer White was held to have violated the Fourth

Amendment”).

       Plaintiff’s failure to state claims for Defendants’ liability based on their alleged roles in the

decision-making process (See Section II) is alone a basis to grant qualified immunity. See e.g.,

Sims v. City of Madisonville, 894 F.3d 632, 641 (5th Cir. 2018) (per curiam) (holding that caselaw

had not clearly established “whether First Amendment liability can attach to a public official who



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did not make the final employment decision”); Montoya v. Morgan, No. 16-92, 2018 WL 4701795,

at *17 (N.D. Fla. Sept. 30, 2018) (granting qualified immunity when Section 1983 individual

liability for one who allegedly recommended demotion was not clearly established).7

       The authority in this Brief otherwise makes clear that the individual Defendants did not, in

the context of this specific case, violate a clearly established right with regard either to the Free

Exercise Clause, the Free Speech Clause, or the Equal Protection Clause. Indeed, the many

decisions, which predate 2021, make that abundantly clear.

       Therefore, the individual Defendants are entitled to qualified immunity from Plaintiff’s

claims for nominal damages sought in Counts I-III and such claims should be dismissed.

    E. THE COURT SHOULD DISMISS ALL OF PLAINTIFF’S CLAIMS AGAINST
       DEFENDANTS IN THEIR INDIVIDUAL CAPACITIES (IN COUNTS I-III AND
       VI-VIII) BECAUSE THE INJUNCTIONS SOUGHT RELATE ONLY TO THEIR
       JOBS AND ALLEGE ACTIONS TAKEN ONLY IN THEIR OFFICIAL
       CAPACITIES

       In all three of Plaintiff’s Section 1983 claims (Counts I-III) and her state constitution claims

(Counts VI-VIII), she names Defendants in their individual and their official capacities.

(PageID.543, 550, 554, 563, 565, 567, ¶¶ 192, 235, 254, 316, 333, 341).8 In all six claims, Plaintiff


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  Even in Masterpiece, no defendant was named in their individual capacity for an act of
“recommending” or “ratifying” a decision. Instead, the commission was named as a body, not as
individuals, for the action it took as a body.
8
  A Section 1983 claim against a person in their official capacity is, in essence, a claim against the
State itself. Alkire v. Irving, 330 F.3d 802, 810 (6th Cir. 2003) (“[I]ndividuals sued in their official
capacities stand in the shoes of the entity they represent”). As a result, Plaintiff’s official capacity
claims against the various individual defendants are essentially claims against the State. By
contrast, a Section 1983 claim against a person in their individual capacity is where “the real party
in interest is the individual, not the sovereign.” Lewis v. Clarke, ___ U.S. ___, 137 S.Ct. 1285,
1291, 197 L.Ed.2d 631 (2017). Instead, individual capacity “suits seek to impose personal liability
upon a government official for actions he takes under color of state law.” Kentucky v. Graham,
473 U.S. 159, 165, 105 S.Ct. 3099, 87 L.Ed.2d 114 (1985). Monetary relief against Defendants in
their official capacities would be barred by the Eleventh Amendment. See e.g., Ford Motor Co. v.
Dep’t of Treas., 323 U.S. 459, 464 (1945). Monetary relief against them in their individual
capacities would be barred by qualified immunity. See e.g., Harlow v. Fitzgerald, 457 U.S. 800
(1982).

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seeks relief from them in the forms of: (1) “an order against Defendants directing them to reinstate”

Plaintiff; and (2) “prohibiting future such [unconstitutional] acts by Defendants.” (PageID.550,

553, 556, 565, 566, 568, ¶¶ 223, 252, 265, 331, 339, 351). Requests seeking injunctive relief of

that kind against state officials in their individual capacities are uncommon.

        The Sixth Circuit and other courts have made clear that claims for injunctive relief against

state officials in their individual capacities, which relate only the individuals’ jobs, cannot be

sustained. “Just as a plaintiff cannot sue a defendant in his official capacity for money damages, a

plaintiff should not be able to sue a defendant in his individual capacity for an injunction in

situations in which the injunction relates only to the official's job, i.e., his official capacity.” Cmty.

Mental Health Servs. of Belmont v. Mental Health & Recovery Bd., 150 F.App'x 389, 401 (6th Cir.

2005). Accord: Shah v. Univ. of Toledo, No. 21-581, 2021 WL 5140969, at *11 (N.D. Ohio Nov.

4, 2021), dismissed, No. 21-4153, 2022 WL 17493374 (6th Cir. July 18, 2022). See also

Greenawalt v. Ind. Dep't of Corr., 397 F.3d 587, 589 (7th Cir. 2005) (“Section 1983 does not

permit injunctive relief against state officials sued in their individual as distinct from their official

capacity.”); Blackwell v. City of Inkster, 596 F.Supp.3d 906, 923 (E.D. Mich. 2022) (dismissing

claim against mayor for injunctive relief in his individual capacity because such relief could be

directed against him in his official, but not his individual, capacity) (citing Gay v. Cabinet for

Health & Fam. Servs. Dep't for Cmty. Based Servs., No. 18-5285, 2019 WL 1338524, at *5 (6th

Cir. Jan. 23, 2019) (“injunctions run against the office, not the individual”)).

        The same is true here. Plaintiff’s requests for injunctive relief relate only to Defendants’

jobs, i.e., their roles in Plaintiff’s employment. Accordingly, Plaintiff’s claims in Counts I-III and

VI-VIII, brought for injunctive relief against Defendants in their individual capacities, should be

dismissed. Fed. R.Civ. P. 12(b)(6).




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    F. THE COURT SHOULD DISMISS PLAINTIFF’S REQUESTS FOR INJUNCTIVE
       RELIEF AGAINST DEFENDANTS BOOKER, COLE, PIERCE AND SMITH IN
       THEIR INDIVIDUAL AND OFFICIAL CAPACITIES (IN COUNTS I-III AND VI-
       VIII) BECAUSE PLAINTIFF DID NOT PLEAD THAT THEY POSSESS THE
       POWER TO REINSTATE HER OR TO REMEDY THE OTHER ALLEGED
       VIOLATIONS

       As noted above, the claims against all five defendants seek injunctive relief in the forms of

reinstatement and an order “prohibiting future such [unconstitutional] acts by Defendants.”

(PageID.550, 553-554, 556, 565, 566, 568, ¶¶ 223, 252, 265, 331, 339, 351).

       However, Plaintiff has not pled facts that four of the five individual defendants named have

the authority to reinstate her or to prohibit future conduct that would violate her rights. The latter

would require them to either revise the allegedly unconstitutional policies at UMHW, or to direct

others as to how they are implemented.

       This omission is dispositive of Plaintiff’s claims against them. Leon v. Rockland

Psychiatric Ctr., 232 F.Supp.3d 420, 436 (S.D.N.Y. 2017) (dismissing federal age discrimination

claim seeking prospective injunctive relief against defendant Soto because “Plaintiff has not pled

that she has the authority or ability to offer him a job with RPC.”); Duncan v. Nighbert, No. 06-

34, 2007 WL 2571649, at *4 (E.D. Ky. Aug. 31, 2007) (“Defendants Fletcher and Adams do not

have the authority to reinstate Plaintiff to his previous position as Staff Assistant; therefore,

Plaintiff's claims for injunctive relief [under Section 1983] against Defendants Adams and Fletcher

fail, as they cannot provide the relief requested.”); Brown v. Timmerman-Cooper, 2013 WL

430262, at *3 (S.D. Ohio Feb. 4, 2013) (prison officials sued in their official capacities must

“possess the power or authority to remedy unconstitutional condition”), report and

recommendation adopted, No. 2:10-CV-283, 2013 WL 1344857 (S.D. Ohio Apr. 2, 2013).9


9
 In the above cases, courts analyzed the plaintiff’s obligation to plead the individual defendant’s
authority to grant the relief requested in the context of Eleventh Amendment immunity. Accord:
Kmetz v. State Hist. Soc., 304 F.Supp.2d 1108, 1137 (W.D. Wis. 2004) (Ex parte Young “exception

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       In an earlier-filed Motion, the individual Defendants explained the above and sought

dismissal of Plaintiff’s claims against them. Instead of responding to the Motion, Plaintiff amended

her Complaint. Plaintiff seems now to attempt a partial correction of this deficiency by repeated

reliance on the old crutch, “[o]n information and belief.” Plaintiff repeatedly recites “on

information and belief” what actions the individual Defendants’ supposedly took against Plaintiff.

(PageID.528-528, 531-534, ¶¶ 110-111, 112-114, 129, 131, 133, 136, 138, 139, 141).

       Plaintiff makes the express accusation, again “[o]n information and belief,” that three of

the five Defendants have broad authority: “On information and belief, Defendants Pai, Booker,

and Cole have the authority to reinstate Ms. Kloosterman, to rescind the unlawful policies at issue,

to ensure that the hospital’s policies are not enforced or implemented in a discriminatory manner

against religious employees, and to grant employees’ religious accommodation requests.”

(PageID.534, ¶ 141) (emphasis added).10 Plaintiff does not allege which of these three defendants

can reinstate, rescind policy, ensure a non-discriminatory enforcement, and/or grant her

accommodation requests.

       Plaintiff’s omission of Defendants Pierce and Smith from that list of individuals with

authority is glaring. Plaintiff did not even attempt to claim that they have the authority to

implement the relief Plaintiff seeks. All of Plaintiff’s claims for injunctive relief against

Defendants Pierce and Smith must be dismissed for that reason alone.




applies only when the state official has the authority to perform the requested act.”). But,
irrespective of whether the claim seeks injunctive relief against a state employee in their official
or individual capacity, the key point remains the same: if an individual does not have authority
implement the injunctive relief being sought, there is no basis to seek injunctive relief against
them.
10
   Further, in amending her Complaint, Plaintiff removed Defendants Pierce and Smith from the
allegation that all Defendants “participated in the decision to terminate” Plaintiff’s employment.
(Compare PageID.21, ¶133 to PageID.532, ¶ 133).

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       Further, the allegations that Defendants Cole and Booker, on “information and belief,” can

variously reinstate her, rescind the policies at issue, and ensure that the hospital’s policies are not

enforced or implemented in a discriminatory manner (PageID.534, ¶ 141), fail to meet the

plausibility standard required by Twombly and Iqbal. A claim has facial plausibility when the

pleaded factual allegations permit the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged. Twombly, supra at 556.

       With regard to reinstatement, Plaintiff pleads no facts that an HR Director (Cole) or Vice

President for DEI (Booker) can reinstate a terminated employee. Indeed, the Amended Complaint

claims that Defendant Pai “made the ultimate decision to fire” Plaintiff and signed the termination

letter and that Defendant Pai “bears final responsibility for the unlawful termination.”

(PageID.532, ¶ 120, 132). With regard to the rescinding and non-discriminatory enforcement and

implementation of policies, Plaintiff again claims that Defendant Pai “implements and enforces

[the alleged speech code] through his own personnel actions and through the personnel actions of

his subordinates.” (PageID.528, ¶ 110). Accordingly the injunctive relief sought against

Defendants Cole and Booker should be dismissed.

       Because Plaintiff did not plausibly allege that Defendants Cole, Booker, Pierce and Smith

can reinstate her, change UMHW policies, grant her accommodations and/or direct others as to

how policies should be enforced, the Court should dismiss these claims against them for injunctive

relief. Fed. R.Civ. P. 12(b)(6).

   G. THE DISMISSAL OF PLAINTIFF’S FEDERAL CLAIMS AGAINST
      DEFENDANTS FOR INJUNCTIVE RELIEF (IN COUNTS I-III) REQUIRES
      DISMISSAL, PURSUANT TO THE ELEVENTH AMENDMENT, OF THE SAME
      CLAIMS AGAINST THEM IN THEIR OFFICIAL CAPACITIES FOR
      DECLARATORY RELIEF

       The dismissal of Plaintiff’s federal claims for injunctive relief, for the reasons given above,

requires dismissal of those same claims against defendants in their official capacities which seek

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declaratory relief. That is because Plaintiff’s claims for declaratory relief are retrospective in

nature, only. Specifically, Plaintiff’s requests for declaratory relief in all six counts against

Defendants seek a “declaration that” they violated her rights under the various provisions of the

Michigan and U.S. Constitutions. (PageID.530, 553-554, 556, 565, 566, 568, ¶¶ 223, 252, 265,

331, 339, 351).

       As discussed above, Ex parte Young permits state officers to be sued in their official

capacities for prospective injunctive and declaratory relief to end continuing or ongoing violations

of federal law. Boler, supra. However, courts have routinely held that claims for declaratory relief

against state officials in their official capacities, uncoupled with claims for prospective injunctive

relief, are barred by the Eleventh Amendment. See e.g., Brown v. Strickland, 2010 WL 2629878,

at *4 (S.D. Ohio June 28, 2010) (“a declaratory judgment against state officials declaring that

they violated federal law in the past constitutes retrospective relief, and is barred by the Eleventh

Amendment”) (emphasis added) (citing Green v. Mansour, 474 U.S. 64, 68 (1985); Knisley v.

Bowman, 656 F.Supp. 1540, 1554 (W.D. Mich. 1987) (“the Court holds that the remaining claims

for declaratory and “notice relief” relate to past violations of federal law and that retrospective

relief for such claims is barred by the Eleventh Amendment”) (emphasis added).

       As a result, dismissal of Plaintiff’s claims against Defendants for injunctive relief also

requires dismissal of Plaintiff’s claims for declaratory relief (in Counts I-III) in their official

capacities. Fed. R.Civ. P. 12(b)(1).




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                                      IV.     CONCLUSION

       For the foregoing reasons, Defendants Pai, Cole, Pierce, Smith and Booker respectfully

request that this Honorable Court grant their Motion to Dismiss under Fed. R. Civ. P. 12(b)(1) and

12(b)(6), dismiss all of Plaintiff’s claims pending against them, and grant Defendants their costs

and such other relief as this Court deems proper.


                                             HALL RENDER KILLIAN HEATH & LYMAN, PC

                                             /s/ Jonathon A. Rabin
                                             Jonathon A. Rabin (P57145)
                                             Larry R. Jensen (P60137)
                                             Attorneys for Individual Defendants
                                             101 W. Big Beaver Road, Suite 745
                                             Troy, MI 48084
                                             (248) 740-7505
                                             jrabin@hallrender.com
                                             ljensen@hallrender.com
February 20, 2023




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                    LOCAL RULE 7.1 CERTIFICATE OF COMPLIANCE

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                                               Respectfully submitted,

                                               HALL RENDER KILLIAN HEATH & LYMAN, PC

                                               /s/ Jonathon A. Rabin
                                               Jonathon A. Rabin (P57145)
                                               Larry R. Jensen (P60137)
                                               Attorneys for Individual Defendants
                                               101 W. Big Beaver Road, Suite 745
                                               Troy, MI 48084
                                               (248) 740-7505
                                               jrabin@hallrender.com
                                               ljensen@hallrender.com

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